Case 1:19-cr-00828-ALC Document 160 Filed 10/07/21 -Page.lofl

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

x
United States of America,
ORDER
19-CR-828 (ALC)
-against-
Brandon Johnson et al,
4

 

ANDREW L. CARTER, JR., United States District Judge:
The Status Conference set for October 14, 2021 is adjourned without a date.
SO ORDERED.

Dated: New York, New York

9
— (And / Cag.

ANDREW L. CARTER, JR. .
UNITED STATES DISTRICT JUDGE

 

 

 
